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                                                                                Hon. David G. Estudillo
6
                             UNITED STATES DISTRICT COURT
7                      WESTERN DISTRICT OF WASHINGTON AT TACOMA
8     JULIE BALLOU,
                                                           No. 3:19-cv-05002-DGE
9                    Plaintiff,
                                                           DEFENDANTS’ POCKET BRIEF
10           vs.                                           RE: ADMISSIBILITY OF
                                                           EXHIBITS 573-580
11    JAMES McELVAIN, P.H.D., in his
      individual and representative capacity; and
12    CITY OF VANCOUVER, a municipal
      corporation,
13
                     Defendants.
14
            At the continuation of the Pretrial Conference on October 31, 2023, Plaintiff stipulated to
15
     the authenticity of Exhibit 566, which is a series of text messages to and from Ballou produced
16
     in discovery. The Court, however, directed Defendants to redact the irrelevant texts and
17
     information on Exhibit 566. Defendants have done so and prepared the spreadsheet in a much
18
     more readable form as Exhibits 573-580. The exhibits are divided into the separate conversations
19
     Plaintiff had with various people:
20
               Exhibit 573: Det. Missy Skeeter
21
               Exhibit 574: Cmdr. Amy Foster
22
               Exhibit 575: Sgt. Ryan Junker
23
               Exhibit 576: Thomas DeMarco
24
               Exhibit 577: Sgt. Patrick Kennedy
25
               Exhibit 578: Sharon Ricks, Beth Graves, Brandy Ostrom
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      DEFS.’ POCKET BRIEF RE: EXS. 573-80 - 1                               CITY ATTORNEY’S OFFICE
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1              Exhibit 579: Ofc. Michael Maini
2              Exhibit 580: Sgt. Zachary Ripp
3           As these exhibits are all stipulated to be authentic text conversations, the only question
4    that remains is admissibility. As to the texts that Ballou sent to others, they are her own statements
5    and excluded from the definition of hearsay. FRE 801(d)(2)(A).
6           As to statements by persons other than Ballou, they are not hearsay if Defendants offer
7    the text for reasons other than proving the truth of the matter asserted. FRE 801(c)(2). This would
8    apply to questions posed by Ballou’s colleagues, friends, and boyfriend, e.g. Ex. 576 at 6 (text
9    line 708, (“Why not?”); Ex. 578 at 1 (“Did you get the promotion?”)). The same rationale
10   exempts any criticisms made by Ballou’s colleagues or friends of Corporal Holly Musser, who
11   initiated one of the IA investigations on which Ballou premises her lawsuit (IAC 2018-0175).
12   (E.g., Ex. 578 at 3 (“Wait what- from one of your fb posts?”).) Because these texts would not be
13   offered to prove the truth of what is stated in the text, they are not hearsay. L.E. v. Lakeland Joint
14   Sch. Dist. #272, 403 F. Supp. 3d 888, 897-98 (D. Idaho 2019) (out-of-court statement “that L.E.
15   was raped” not hearsay because party offered it not to prove that L.E. was raped, but rather “to
16   prove the District had notice”).
17          As to texts to which Ballou responds in the affirmative—thereby “‘manifest[s] an
18   adoption or belief in [the] truth’ of the information contained in the” text to which she responds—
19   those constitute adoptive admissions by a party-opponent. Sea-Land Serv. v. Lozen Int'l, LLC,
20   285 F.3d 808, 821 (9th Cir. 2002) (quoting FRE 801(d)(2)(B)). Therefore, those texts are
21   adoptive admissions and not hearsay.
22          As for relevance, it must be remembered that Plaintiff contends that the various IA
23   investigations against her were initiated for unlawful reasons, and that the delay of her promotion
24   was due to unlawful reasons. Against this backdrop, Defendants generally address the substance
25   of the text conversations and why they meet the test for relevancy.
26

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            A.      Exhibit 573 (texts with Missy Skeeter)
1
            One of the IA investigations that Ballou challenges as an unlawful “fig leaf” for the denial
2
     of her promotion in January 2019 is Internal Affairs Case (“IAC”) 2018-0175. This IA was
3
     initiated after Cpl. Holly Musser (a female) alleged that a photograph Ballou posted on Facebook
4
     and a comment Skeeter posted about the photo violated the Department’s social media policy.
5
            Exhibit 573 depicts a conversation between Ballou and Skeeter regarding that very IA
6
     allegation. The text messages were all sent or received between October 21-30, 2018, and cast
7
     blame for the IA not on Chief McElvain or the City, but rather on Cpl. Musser exclusively. This
8
     conversation is therefore highly relevant in that it reflects a belief—even if transitory—that IAC
9
     2018-0175 was not initiated for gender or retaliatory reasons. This was the precise reason cited
10
     by the Court for denying Plaintiff’s second motion in limine—the texts between Ballou and her
11
     then-boyfriend (Thomas DeMarco)—pondering if her ex-husband (Leonard Gabriel) was the true
12
     reason for the denial of her promotion. Further highlighting the relevancy, Ballou would later file
13
     an allegation that Cpl. Musser violated that same social media policy, which in turn prompted
14
     Cpl. Musser to complain that Ballou was retaliating against her in violation of City and
15
     Department policy. Ballou will cite this subsequent IA investigation stemming from Musser’s
16
     allegation of retaliation/harassment (IAC 2018-0206) as another alleged adverse employment
17
     action against her. Consequently, these texts have extreme probative value, thereby dwarfing
18
     whatever prejudicial effect Plaintiff might claim.
19
            B.      Exhibit 574 (texts with Amy Foster)
20
            Amy Foster is a VPD Commander who supports Plaintiff’s case. The first two pages of
21
     Exhibit 574 reflects a conversation between Ballou and Foster regarding the investigation being
22
     conducted at the time by Mike Bolasina, whom the City hired to investigate Ballou’s claims of
23
     discrimination that are at issue in this case (both Foster and Bolasina are witnesses identified by
24
     Plaintiff). In one text, Ballou writes, “I sorta hope it goes past oct to see what the chief is going
25
     to do when hendo leaves.” (Ex. 574 at 1.) Ballou will argue that Bolasina’s investigation was
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1    unreasonably drawn out, which in turn affected her promotion chances. But this text undermines
2    the credibility of her claim that any delay was adverse to her. Furthermore, another IA
3    investigation about which Plaintiff complains is an allegation of insubordination for discussing
4    an open investigation while it was pending. Defendants are entitled to present evidence of Ballou
5    violating the very policy with which she claimed to have complied.
6           Texts 300-303 (Column A, page 3) are withdrawn. Defendants agree those are
7    inadmissible and will redact those.
8           In texts 304-310 (Column A, pgs. 3-4), Ballou refers to evidence and describes her lawsuit
9    to Foster as “our claim.” Foster does not deny that the lawsuit is “her claim” too, which can
10   reflect bias or prejudice in favor of Plaintiff. 9TH CIR. MODEL J. INSTR. 1.14 (identifying the same
11   as factors to consider in weighing a witness’s credibility). The same can be said about texts 311-
12   326, in which Foster provides Ballou with advice on how to bolster her case.
13          Lastly, text 353 again expresses the target of Ballou’s ire as Musser. The text, sent
14   October 18, 2018, the day she received notice of Musser’s social media allegation—refers to
15   Musser as a “fu**ing c*nt.” The texts that follow reveal Foster’s response. They are
16   unquestionably relevant.
17          C.      Exhibit 575 (texts with Ryan Junker)
18          Exhibit 575 contains texts with Ryan Junker, a VPD Sergeant (who has lower seniority
19   than Plaintiff) who is on Plaintiff’s witness list. Text 184 (Column A, pg. 2) is a text from Ballou
20   that states, “Well I don’t trust anyone but she didn’t pull that info outta her ass.” This text is
21   referring to Barbara Kipp, the sergeant from the Professional Standards Unit who investigated
22   all of the IAs against Ballou except for one. The text was sent August 7, 2018, which is referring
23   directly to the underlying IA into Ballou’s failure to take a report that led to McElvain passing
24   her over for promotion. Therefore, they reflect a concession that Kipp conducted this IA fairly
25   and with integrity.
26

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1           The texts on page one refer to Ballou criticizing her supervising sergeant (Pat Kennedy)
2    for providing information about Ballou’s substandard performance. Junker’s texts merely
3    provide context to the conversation. The remainder of the exhibit contains Ballou’s texts
4    describing the October 2018 promotion, Musser’s IA complaint against her, and her complaint
5    against Musser. To be sure, Text 689 reflects Ballou’s belief that Musser filed the IA complaint
6    as an effort “to keep me from being promoted.” (Ex. 575, at 3.) The texts are all highly relevant.
7           D.      Exhibit 576 (Thomas DeMarco)
8           Mr. DeMarco is Plaintiff’s current husband, but boyfriend at the time (thereby eliminating
9    any claim of marital privilege). The Court already recognized the relevance of text 10686, which
10   is Ballou pondering whether her “ex” and “his shenanigans” were the reason why she was not
11   promoted in July 2018. Notably, this text was sent contemporaneously with the effective date of
12   the first promotion.
13          Pages 1-2 is a discussion from May 6, 2018, (two days before Ballou’s first IA interview)
14   of Ballou wondering if the IA investigations “might [cause police admin] to decide I’m unfit,”
15   and deny her the promotion.
16          Defendants withdraw texts 9176-9190 (pgs. 2-4).
17          Texts 9499-9500 (page 4) discuss the timing of when Ballou was informed of McElvain’s
18   decision to pass her over.
19          The remainder of the exhibit contains texts that speak to (a) assistance by Commander
20   Nannette Kistler with building her case (texts 15034-15045); and (b) Commander Kistler
21   advising Ballou about the pending IA initiated by Cpl. Musser (texts 15046-15052). For the same
22   reason the similar texts from Foster are admissible, so too should these texts.
23          E.      Exhibit 577 (Patrick Kennedy)
24          Patrick Kennedy was Ballou’s direct supervisor at the time McElvain denied her the
25   promotion in July 2018. The texts in 577 all stem from a conversation on May 15, 2018, when
26   Ballou admits to violating policy. (See Ex. 577 at 2) (“I can explain why I violated policy of [sic]

      DEFS.’ POCKET BRIEF RE: EXS. 573-80 - 5                                 CITY ATTORNEY’S OFFICE
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 1   someone needs it.”). This stands in contrast to Ballou’s claim that she did nothing wrong.
 2   Kennedy’s texts provide context. The exhibit is admissible.
 3           F.      Exhibit 578 (Sharon, Beth, Brandy)
 4           Exhibit 578 contains a text thread with Ballou’s friends. The first series of texts from
 5   March 8, 2018, reflect Ballou viewing the Sergeant’s Mentoring Program in a positive light—
 6   which is the basis for Defendants’ same-actor inference argument.
 7           The texts on May 23, 2018, lead to a statement by Ballou that she “[p]robably won’t get
 8   promoted unil end of June unless they pass me up,” reflecting a contemporaneous belief that her
 9   misconduct would lead to McElvain promoting someone else. (Ex. 578 at 2, text 19505)
10   (emphasis added).
11           The remaining texts are all from October 18, 2018, and refer to the allegation Musser
12   initiated against Ballou and Ballou’s condemnation of Musser for doing so. Again, this subject
13   matter is at the heart of this case.
14           G.      Exhibit 579 (Ofc. Michael Maini)
15           Exhibit 579 are a series of four texts offered for the same reason why the Court denied
16   Plaintiff’s Motion in Limine #2:
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      DEFS.’ POCKET BRIEF RE: EXS. 573-80 - 6                              CITY ATTORNEY’S OFFICE
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            H.      Exhibit 580 (Sgt. Zachary Ripp)
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            Exhibit 580 contains texts in reverse chronological order (due to Sgt. Ripp using an
2
     Android device). These text messages from Ballou comment on Musser’s allegation of
3
     misconduct and again reference her “association with my ex” as a reason for her troubles. For
4
     the same reasons discussed above, the exhibit is relevant and admissible.
5
            Exhibit for the texts withdrawn from Exhibits 574 and 576 as stated above, the Court
6
     should overrule any objection to the text messages and admit Exhibits 573-80.
7
            DATED on November 6, 2023.
8
                                                  CITY ATTORNEY’S OFFICE
9                                                   VANCOUVER, WASHINGTON
10                                                By:           /s/ Daniel G. Lloyd
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